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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on September 15, 2023

UNITED STATES OF AMERICA
CASE NO. 23-cr-71 (RDM)
V.
: VIOLATIONS:
BRYAN SMITH, : 18 U.S.C. § 231(a)(3)
‘ (Civil Disorder)
Defendant. : 18 U.S.C. §§ 111(a)(1) and (b), 2

é (inflicting Bodily Injury on Certain
Officers)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
18 U.S.C. §§ 1752(a)(4), 2
(Engaging in Physical Violence in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Grounds or Building)
40 U.S.C. §§ 5104(e)(2)(F) and 18 U.S.C. § 2
(Act of Physical Violence in the Capitol
Grounds or Buildings)

SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, BRYAN SMITH committed
and attempted to commit an act to obstruct, impede, and interfere with a law enforcement officer
lawfully engaged in the lawful performance of his/her official duties incident to and during the

commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
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affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, BRYAN SMITH did
forcibly assault, resist, oppose, impede, intimidate, interfere and inflict bodily injury on, an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
while such officer or employee was engaged in or on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the
intent to commit another felony.

(inflicting Bodily Injury on Certain Officers and Aiding and Abetting, in violation of

Title 18, United States Code, Sections 111(a)(1) and (b) and 2)

COUNT THREE

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH did knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH did knowingly,

and with intent to impede and disrupt the orderly conduct of Government business and official
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functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH did knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds and Aiding and

Abetting, in violation of Title 18, United States Code, Sections 1752(a)(4) and 2)

COUNT SIX

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH willfully and
knowingly engaged in disorderly and disruptive conduct within the United States Capitol Grounds
and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly
conduct of a session of Congress and either House of Congress, and the orderly conduct in that
building of a hearing before or any deliberation of, a committee of Congress or either House of
Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, BRYAN SMITH willfully and
knowingly engaged in an act of physical violence within the United States Capitol Grounds and
any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings and Aiding

‘and Abetting, in violation of Title 40, United States Code, Section 5104(e)(2)(F) and
Title 18, United States Code, Section 2)

A TRUE BILL:

FOREPERSON.

Attorney of the United States in
and for the District of Columbia.
